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                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAI‘I

UNITED STATES OF AMERICA,                )   CR NO. 17-00101 LEK-KJM
                                         )
             Plaintiff,                  )   ORDER DENYING (1) MOTION FOR
                                         )   ORDER TO SHOW CAUSE, AND (2)
      vs.                                )   EX PARTE APPLICATION AND
                                         )   MOTION FOR FUNDS TO
ANTHONY WILLIAMS,                        )   PURCHASE LEGAL SUPPLIES AT
                                         )   GOVERNMENT’S EXPENSE
            Defendant.                   )
                                         )

   ORDER DENYING (1) MOTION FOR ORDER TO SHOW CAUSE, AND
 (2) EX PARTE APPLICATION AND MOTION FOR FUNDS TO PURCHASE
           LEGAL SUPPLIES AT GOVERNMENT’S EXPENSE

      Defendant Anthony Williams filed two motions that are before the Court: (1)

Motion for Order to Show Cause and request for Expedited Hearing (“Show Cause

Motion”); and (2) Ex Parte Application and Motion for Funds to Purchase Legal

Supplies at Governments Expense (“Legal Supplies Motion”). ECF Nos. 117, 120.

The Government filed a response to both motions on March 1, 2018. ECF No.

125. The Court held a hearing on the motions on March 2, 2018. ECF No. 126.

Williams submitted additional Exhibits to the Show Cause Motion after the

hearing. ECF No. 130. After careful consideration of the submissions of the

parties, the arguments of counsel, and the relevant legal authority, the Court

DENIES the Show Cause Motion and the Legal Supplies Motion.
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                                    DISCUSSION

I.      Show Cause Motion

     The Show Cause Motion asserts that the Bureau of Prisons, Federal Detention

Center Honolulu (“BOP”) is imposing conditions of confinement upon Williams

that violate his civil rights and interfere with his ability to defend himself. ECF

No. 117. Williams alleges that he has been held in the Special Housing Unit

(“SHU”), which is akin to solitary confinement, since February 14, 2018. Id. at 3.

Williams further alleges that BOP is interfering with his incoming and outgoing

U.S. mail, as well as delaying incoming and outgoing emails through Corrlinks, the

BOP email system. Id. at 4. Williams also asserts that the BOP is wrongly

refusing him visitation by a Ms. Thomas. Id. at 3-4. Lastly, Williams asks the

Court to dismiss BOP’s pending infractions against him. Id. at 4.

        The Show Cause Motion overlaps in part with Williams’ Motion for

Preliminary Injunction against FDC for Retaliation (“PI Motion), which is

currently pending before the district court. See ECF Nos. 87, 98, 119. In the PI

Motion, Williams seeks an injunction against, inter alia, (i) improper opening of

his legal mail, (ii) delay in his incoming and outgoing email, and (iii) retaliatory

disciplinary actions taken against him. ECF No. 87 at 1-3; ECF No. 119 at 2-9.

Because these particular issues are already before the district court, this Court will

not address them herein.


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      The remaining issues Williams has not expressly raised in his PI Motion are

(i) Williams’ confinement in the SHU, and (ii) Williams’ visitation by Ms.

Thomas.

A. Williams Must Exhaust His Administrative Remedies

      Williams’ Show Cause Motion challenges the conditions of his confinement.

The Court finds that Williams must exhaust the BOP administrative process before

challenging such conditions in this Court.

      “The doctrine of exhaustion of administrative remedies is well established in

the jurisprudence of administrative law.” Woodford v. Ngo, 548 U.S. 81, 88 (2006)

(quoting McKart v. United States, 395 U.S. 185, 193 (1969)). “The doctrine

provides ‘that no one is entitled to judicial relief for a supposed or threatened

injury until the prescribed administrative remedy has been exhausted.’” McKart,

395 at 193 (quoting Myers v. Bethlehem Shipbuilding Corp., 303 U.S. 41, 50-

51(1938)).

      “The exhaustion of administrative remedies serves two important purposes.

First, exhaustion “gives an agency ‘an opportunity to correct its own mistakes with

respect to the programs it administers before it is haled into federal court,’ and it

discourages ‘disregard of [the agency’s] procedures.’” Woodford, 548 U.S. at 89

(alterations in original) (quoting McCarthy v. Madigan, 503 U.S. 140 (1992)).

Second, “exhaustion promotes efficiency” because “[c]laims generally can be


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resolved much more quickly and economically in proceedings before an agency

than in litigation in federal court.” Id. Only if a district judge holds that “the

prisoner has exhausted available administrative remedies, that administrative

remedies are not available, or that a prisoner’s failure to exhaust available remedies

should be excused” may the case proceed to the merits. Albino v. Baca, 747 F.3d

1162, 1171 (2014).

      Here, Williams has not made a sufficient showing of any of the foregoing.

Accordingly, this Court may not proceed to the merits of Williams’ claims.

      In order to properly exhaust available administrative remedies with the

Bureau of Prisons, an inmate must proceed through the Administrative Remedy

Program. See 28 C.F.R. §§ 542.10-542.19; see also, Bureau of Prisons Program

Statement on Administrative Remedy Program, January 6, 2014 available at

https://www.bop.gov/policy/progstat/1330 018.pdf. “The purpose of the

Administrative Remedy Program is to allow an inmate to seek formal review of an

issue relating to any aspect of his/her own confinement.” 28 CFR § 542.10(a)

(emphasis added).

      Under the BOP grievance process, the inmate must first seek informal

resolution of the issue of concern at his institution of confinement. Id. § 542.13. In

this case, the institution is FDC Honolulu. If no informal resolution is reached, the

inmate must file a formal request (“BP-9”) with the Warden. Id. § 542.14. If the


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Warden denies a remedy, the inmate may then appeal first to the Regional Director

(“BP-10”), within 20 days of receiving the Warden’s response, and thereafter to

the General Counsel in Washington, D.C. (“BP-11”), within 30 days of receiving

the Regional Director’s response. Id. § 542.15. A final decision from the Office of

General Counsel completes the BOP’s Administrative Remedy Process. Id. §

542.15(a). Accordingly, the administrative process is not complete until (1) the

Office of the General Counsel replies on the merits to the inmate’s appeal, or (2)

the response is not forthcoming within the time allotted for reply. See id. § 542.18.

      Because Williams has not established that he has completed the

administrative process related to (i) his confinement in the SHU; or (ii) visitation

by Ms. Thomas, the Court DENIES the Show Cause Motion.

      II.    Legal Supplies Motion

      Williams’ Legal Supplies Motion asks the Court to order the Government to

provide him with necessary funds to purchase the following sixteen legal supplies:

             1.     File Folders
             2.     Page dividers
             3.     Exhibit tabs
             4.     4 packages of 500 sheet printer pager
             5.     Mouse pad
             6.     Calendar
             7.     West Laws Legal Research Disc
             8.     Corpus Juris Secundum Vol. 7.
             9.     Black’s Law Dictionary 3rd or 4th Edition
             10.    Stapler
             11.    3 Books of stamps
             12.    Hand pad for typing
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             13.     4 desktop in boxes
             14.     Federal Rules of Criminal Procedure 2017
             15.     Federal Rules of Evidence 2017
             16.     Chart Posters

ECF No. 120. Williams asserts that he needs these items to “organize his research,

research thoroughly the laws and rulings governing his charges and to be properly

prepared to present his case at trial.” Id. Williams adds that he will leave most of

these items with BOP at the conclusion of his case, making them available for

other inmates. Id.

      The Legal Supplies Motion has some commonality with Williams’ Motion

to Compel, which he filed November 29, 2017, inasmuch as both motions seek

legal defense supplies. ECF Nos. 65, 73, 75, 79. The Motion to Compel is

currently on appeal to the district court. ECF Nos. 79, 96. In the Motion to

Compel, Williams requested, among other things, that he be provided a variety of

supplies, including a phone, printer, and computer. ECF No. 65. Those specific

items, though, are not included in the Legal Supplies Motion. In the Motion to

Compel, Williams also asks that he be allowed to have “any necessary materials

necessary for his legal defense” though he did not expressly ask that the

Government be ordered to provide him these items. Id. Because of these material

differences, the Court will address the Legal Supplies Motion, except for the

request for stamps, which is already before the district court on the PI Motion. See

ECF 119 at 4, 7 (arguing that FDC does not provide stamps to inmates).
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      Williams has failed to exhaust the administrative remedies available to him

for the items he seeks in the Legal Supplies Motion. In fact, on the Motion to

Compel, the BOP represented that, if Williams establishes indigency, it would

provide him with adequate supplies to ensure his access to Court:

             To the extent the defendant becomes indigent, BOP will
             provide him with writing utensils, paper, stamps, envelopes,
             copies, and other adequate amenities to ensure his access to the
             court remains unhindered.

ECF No. 73 at 4-5. The BOP added, though, that it did believe Williams is

indigent:

             Indigence: BOP ensures indigent inmates are provided stamps,
             envelopes, writing tools, paper, and other basic provisions for
             constitutionally adequate access to the courts. Defendant
             Williams is far from indigent. He has received over $700 in
             deposits during his relatively short time in federal custody. He
             spent almost all on music. Inmate Williams amassed an
             extensive collection, including recordings from Beyonce,
             Eminem, Mariah Carey, Tupac Shakur, and others. He may
             request a refund for the music at any time to enlarge his account
             balance.

ECF No. 73-1 at ¶ 17. Williams needs to exhaust the administrative process

regarding this issue before the Court is able to address it. Accordingly, the

Court DENIES the Legal Supplies Motion.

      Because Williams has expressed difficulty in obtaining the necessary

administrative paperwork, the Court directs the BOP to provide Williams with ten

(10) copies each of the BP-9, BP-10 and BP-11 within ten (10) days of the date of


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this Order. The Court also directs the Government to provide the BOP with a copy

of this Order within two (2) days of the date of this Order.

      IT IS SO ORDERED.

      DATED: Honolulu, Hawai‘i, March 7, 2018.


                                  /S/ Kenneth J. Mansfield
                                 Kenneth J. Mansfield
                                 United States Magistrate Judge




CR NO. 17-00101 LEK-KJM; USA v. Williams; ORDER DENYING (1) MOTION FOR
ORDER TO SHOW CAUSE, AND (2) EX PARTE APPLICATION AND MOTION FOR
FUNDS TO PURCHASE LEGAL SUPPLIES AT GOVERNMENT’S EXPENSE




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